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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

KAREN COCHENOUR, individually and on                 )
behalf of others similarly situated,                 )
                                                     )
        Plaintiff,                                   )
                                                     )   Civil Action No. 1:25-CV-00007-DII
v.                                                   )
                                                     )
360TRAINING.COM, INC., D/B/A                         )
MORTGAGE EDUCATORS AND                               )
COMPLIANCE, INC.,                                    )
                                                     )
        Defendant.                                   )

UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE
                   RESPOND TO COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 6(b) and Local Civil Rule CV-7 of the U.S.

District Court for the Western District of Texas, Defendant 360training.com, Inc., d/b/a Mortgage

Educators and Compliance, Inc. (“360training”) hereby submits this Unopposed Motion for

Extension of Time to Answer and Otherwise Respond and respectfully requests that the Court

grant a 30-day extension for 360training to answer or otherwise respond to Plaintiff Karen

Cochenour’s (“Plaintiff”) Class Action Complaint (“Complaint”). In support of this Motion,

360training respectfully states as follows:

        1.         Plaintiff filed the Complaint on January 2, 2025. (Dkt. No. 1.)

        2.         360training was served with the Complaint on January 6, 2025, making its

responsive pleading deadline January 27, 2025.

        3.         360training recently retained outside counsel to handle this matter, who requires

additional time to investigate the allegations and prepare an appropriate response to the Complaint.




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        4.         Counsel for 360training.com has conferred with Plaintiff’s counsel, and Plaintiff

does not oppose the requested extension.

        5.         The extension requested herein is for good cause and is not for the purposes of

delay or other improper purpose. Accordingly, the requested extension will not prejudice the

orderly administration of this matter and will promote judicial efficiency.

        6.         No deadlines have been set in this case, so the requested extension will not have

any impact on other case deadlines.

        WHEREFORE, Defendant 360training.com, Inc. respectfully requests that the Court

extend the deadline for 360training to answer or otherwise respond to Plaintiff’s Complaint by 30

days, from January 27, 2025 up to and including February 26, 2025.



Dated: January 24, 2025                              Respectfully submitted,

                                                     BAKER & HOSTETLER LLP


                                                     By:   /s/Rachel Palmer Hooper

                                                            Rachel Palmer Hooper
                                                            Texas Bar No. 24039102
                                                            811 Main Street, Suite 1100
                                                            Houston, Texas 77002
                                                            Tel: 713.646.1329
                                                            Fax: 713.751.1717
                                                            rhooper@bakerlaw.com

                                                            Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date, January 24, 2025, a true and correct copy of the

foregoing document was electronically filed with the Clerk of Court using the CM/ECF system,

which will automatically send email notification of such filing to all attorneys of record.


                                      /s/ Rachel Palmer Hooper




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